       Case 3:20-cr-00268-MO   Document 19    Filed 10/05/20   Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF OREGON


UNITED STATES OF AMERICA,                 No. 3:20-cr-00268-MO-1

                           Plaintiff,     ORDER GRANTING SUBSTITUTION
                                          OF COUNSEL PURSUANT TO THE
                 v.                       PROVISIONS OF THE CRIMINAL
                                          JUSTICE ACT, 18 U.S.C. § 3006A
KEVIN DWAYNE HESTER,

                         Defendant.


      IT IS ORDERED that CJA Panel attorney Edie M. Rogoway is appointed

pursuant to the provisions of the Criminal Justice Act, 18 U.S.C. § 3006A, as

substitute counsel, relieving Assistant Federal Public Defender Gerald

Needham for Kevin Dwayne Hester, effective September 25, 2020.

                  5
      DATED this ______ day of October, 2020.



                                    Honorable Michael W. Mosman
                                    United States District Court Judge

Presented by:


___________________________
Lisa C. Hay
Federal Public Defender
